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                                December 4, 2018

                                VIA CM/ECF & HAND DELIVERY

                                The Honorable Leonard P. Stark
                                U.S. District Court for the District of Delaware
                                844 North King Street, Room 6325, Unit 26
Daniel M. Silver                Wilmington, DE 19801-3555
Partner
T. 302-984-6331
F. 302-691-1260                 Re: Novartis Pharmaceuticals Corporation v. Accord Healthcare, Inc., et al.,
dsilver@mccarter.com                C.A. No. 18-1043-LPS

                                Dear Chief Judge Stark:

McCarter & English, LLP               Plaintiff Novartis Pharmaceuticals Corporation (“Novartis”) and Defendants
Renaissance Centre              Zydus Pharmaceuticals (USA) Inc. and Cadila Healthcare Limited (collectively
405 N. King Street, 8th Floor
Wilmington, DE 19801-3717       “Zydus”) write to request the scheduling of a discovery teleconference.
T. 302.984.6300
F. 302.984.6399
www.mccarter.com                       The following attorneys, including at least one Delaware Counsel and at least
                                one Lead Counsel per party, participated in a verbal meet-and-confers (by telephone)
BOSTON
                                on October 26, 2018, and November 20, 2018:

                                •   For Novartis: Paul Torchia from Gibson, Dunn & Crutcher, LLP, and Benjamin
HARTFORD                            Smyth from McCarter & English, LLP

STAMFORD                        •   For Zydus: Emily Savas from Locke Lord LLP, and Jack Phillips from Phillips,
                                    Goldman, McLaughlin & Hall, P.A.
NEW YORK
                                The issues requiring judicial attention are listed below:
NEWARK                                  •   The sufficiency of Zydus’s disclosure of ESI custodians and non-
                                            custodial data sources
EAST BRUNSWICK
                                        •   Zydus’s responses and objections to certain requests for production set
                                            forth in Novartis’s First Set of Common Requests for the Production of
PHILADELPHIA
                                            Documents and Things to all Defendants

WILMINGTON                              •   Zydus’s responses and objections to certain interrogatories set forth in
                                            Novartis’s First Set of Common Interrogatories to all Defendants.
WASHINGTON, DC




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         Respectfully Submitted,

         /s/ Daniel M. Silver

         Daniel M. Silver (#4758)

         cc:     Counsel of record (via electronic mail)




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